                    Case 24-14781-CMG
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SCHEDULE 5 – NO LIABILITY CLAIMS


   CLAIMANT             CLAIM  CLAIM                                   OBJECTION                                   ACTION
                          #   AMOUNT

 Wells Fargo Bank,      AHS 1     $57,501.49   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
        N.A                                    to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
 Wells Fargo Bank,      AHS 5     $38,199.64   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
       N.A.                                    to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
  Bimbo Bakeries        AHS 8     $34,816.48   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
      USA                                      to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
    Staples, Inc.       Sickles   $12,640.31   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                           1                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
   Kube Pak Corp        Sickles   $4,859.72    Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                           6                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
  Gourmet Foods         Sickles   $13,569.59   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
   International          17                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
Dawn Food Products      Sickles   $3,225.55    Claim does not assert basis for which Debtor is liable and fails    DISALLOW
       Inc.               32                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
   Elvira B Luna        Sickles   $3,500.00    Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                          46                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.
   Irene Gonzalez       Sickles   $18,200.00   Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                          57                   to provide sufficient documentation to support claim. Debtors’
                                                    books and records do not reflect claimant as creditor.


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 Wenning and Sons     Sickles   $19,435.00    Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                        63                    to provide sufficient documentation to support claim. Debtors’
                                             books and records do not reflect claimant as creditor. Filed after
                                                               Bar Date and therefore tardy.
  James M. Schuck     Sickles   $13,900.00    Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                        65                    to provide sufficient documentation to support claim. Debtors’
                                             books and records do not reflect claimant as creditor. Filed after
                                                               Bar Date and therefore tardy.
   Donald Niles       Sickles   $812.79       Claim does not assert basis for which Debtor is liable and fails    DISALLOW
                        67                    to provide sufficient documentation to support claim. Debtors’
                                             books and records do not reflect claimant as creditor. Filed after
                                                               Bar Date and therefore tardy.




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